                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


 AURORA LEE, et al.,                             )
                                                 )
         Plaintiffs,                             )
                                                 )
 v.                                              )          NO. 3:15-cv-01111
                                                 )          JUDGE CRENSHAW
 ASURION INSURANCE                               )
 SERVICES, INC., et al.,                         )
                                                 )
         Defendants.

                                             ORDER

        Pursuant to the Court’s previous Order (Doc. No. 83), the Clerk is DIRECTED to unseal

all documents in this case.

        Before the Court is the Joint Motion for Settlement. (Doc. No. 75.) The motion is

DENIED. “The denial is without prejudice in the event the parties are able to negotiate a settlement

agreement that does not require sealing of the agreement and broad language regarding

confidentiality.” Nutting v. Unilever Mfg. (U.S.) Inc., 2014 WL 2959481, at *5 (W.D. Tenn. June

13, 2014); (see Doc. No. 80 at 4; 7; 10 (overbroad language regarding confidentiality of public

documents)).

        IT IS SO ORDERED.




                                                     ____________________________________
                                                     WAVERLY D. CRENSHAW, JR.
                                                     UNITED STATES DISTRICT JUDGE




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